Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

Plaintiff,
Case No, 18-227-SLP
v.

JOSEPH MALDONADO-PASSAGE,
a/Ida Joseph Allen Maldonado

a/Ida Joseph Allen Schriebvogel

a/Ida "Joe Exotic",

Nema Nn Ne Ne ee me ee” ne” cee eee See”

Defendant,

REPLY TO UNITED STATES' RESPONSE IN OPPOSITION TO
DEFENDANT'S MOTION FOR DISOUALIFICATION

COMES NOW Defendant, JOSEPH MALDONADO-PASSAGE, by and

through undersigned counsel, and files this Reply to the United States' Response in
Opposition to Defendant's Motion for Disqualification. In support, Defendant states:

The United States alleges the Defendant's arguments are based on speculation and
suspicion. The United States opines that Defendant's Motion, “amounts to nothing more
than a complaint about this Coutt's initial sentence and defense counsel's unsubstantiated
speculation." This could not be further from the truth.

Defendant's arguments are grounded in facts. It is a fact that this Court is currently
presiding over three cases (and a fourth was dismissed) which puts at issue a core set of
patties and facts. It is a fact that this Court has indicated an unwavering set of assumptions
based on the various motions and hearings in these cases. It is a fact this Court wrote, "The

Court will assume the parties’ familiarity with the facts of this interminable case, which has

EXHIBIT 1}

 
Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 2 of 10

been pending for multiple years and spawned other cases, including a criminal matter.” It is
a fact that these so-called never-ending civil cases did not “spawn” a criminal case. It is a
fact that the allegations about animal abuse have nothing to do with the civil pursuits of
Carole Baskin. It is a fact that the alleged murder for hire charges will soon be significantly
challenged, as Alan Glover will admit to perjuring himself at trial, James Garretson will
testify about various Brady violations and has produced recorded calls which show
significant government misconduct and Jeff Lowe will testify about various other Brady
violations and deceit and manipulation by government agents. It is a fact this Court has
responses due and hearings set to hold key witnesses, and this very Defendant, in civil and/or
criminal contempt, which could certainly continue to contaminate an unbiased look at the
new forthcoming evidence. It is a fact that this contamination prejudiced Defendant’s
presumption of innocence in the criminal case and due process at sentencing, such that this
Court vocally vented his frustrations at the Defendant. These are a few of the indisputable
facts that require recusal.

Another factual example is the August 29, 2019 Agreed Judgement and Permanent
Injunction (Ex. 1 August 29, 2019 Agreed Judgement and Permanent Injunction) wherein
this Court found:

“Shirley M. Schreibvogel received transfers of funds from and of BCR’s

judgment debtor The Garold Wayne Interactive Zoological Foundation

(“Garold Wayne Zoo”) in an amount exceeding $150,000, during the period

February 20, 2013 through February 28, 2016, each of which was a

fraudulent transfer under 24 Okla. Stat. § 116(A)(1), and the transfers of
funds are avoided under 24 Okla. Stat. § 119¢A)(1).” (emphasis added).

2 EXHIBIT 1
Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 3 of 10

These matters were pending and briefed in the civil case before Mr. Maldonado-
Passage’s criminal trial. The Order was entered in between trial and sentencing with this
Court, deciding in an entirely unrelated matter that Mr. Maldonado-Passage was involved in
fraud, despite him never being criminally charged or convicted of such. Further, the order
states:

“Shirley M. Schreibvogel had received a fraudulent transfer of certain real

property? from Maldonado, which transfer was designed to prevent BCR

from collecting its judgment against Maldonado.” (emphasis added).

Was this judicially placed cloak of fraud put aside as it should have been? No, as this
Court admitted by saying the Defendant had “zero wiggle room,” his “pattern of conduct”
was “particularly troubling,” that he was “consumed” or “obsessed” with “silencing Carole
Baskin,” that he was “for years doing as he pleased,” that he was “convinced that (he) will
always know better,” and that he may believe he was the only “in-step person in an out of
step world.” These statements (and others) combined with a vacated, illegal sentence are facts
that are disqualifying.

This Court will be presented with affidavits like the attached at sentencing and in
motions challenging the conviction. (Ex. 2 Jeffrey Lowe Affidavit) This new evidence must
be considered on its own merit and it is included herewith to show the fundamental need for
objectivity at sentencing and motions for post-trial relief. In contrast, in the civil case, Big
Cat Rescue argued:

“On November 16, 2018, Mr. Lowe posted on social media that he planned

to let BCR take a default judgment and gain possession of the Property, but

that he had “one huge final surprise for [BCR] to try and overcome,” and

planned “House of Cards style sh*t” to “play out to the end.” See Ex.1 at {fff
6-7, and Ex.1-1. These statements were made in the same time frame as

3 EXTUOBIT 1
Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 4 of 10

BCR’s mediation with Mrs. Schreibvogel where she confessed the fraudulent

scheme, BCR’s motion for judgment as to the Property and related items, and

the closing and draining of the PVNB bank account.” (Ex. 3 Second

Application Order to Show Cause)

This Court subsequently ruled, “Shirley M. Schreibvogel, that defendant received no
consideration for the transfer of her interest in the Zoo Land to Jeffrey L. Lowe or defendant
Greater Wynnewood Development Group, LLC (“GWDG”)” and thus deemed them
“fraudulent transfers as to BCR, under 24 Okla. Stat. § 116(A)(1).” Mr. Lowe has never been
charged or convicted of any such crime. Further, this Court is presently considering contempt
and/or sanctions against Mr. Lowe concerning alleged damage to the subject property years
ago.

Statements about what occurred at a mediation are supposed to remain extrajudicial.
Irrelevant matters are not supposed to be considered when weighing the veracity of a case or
its witnesses, Yet, there has been so much cross contamination of this type, as exhibited by
this Court at pretrial, trial and sentencing, a fresh start in the criminal case is the only option.

Congress’ purpose in enacting section 455(a) was to "promote public confidence in

the impartiality of the judicial process," 1974 U.S.C.C.A.N. at 6355; e.g., Liljeberg v. Heaith

Services Acquisition Corp., 486 U.S. 847 (1988) (Rehnquist, C.J., dissenting). Twisting

 

Defendant’s Motion in such a way as to suppress Mr. Maldonado-Passage’s constitutional
rights to a fair sentencing and potential re-trial while ignoring the public’s lack of confidence
in this particular matter are simply bending the statutes out of their clear purpose.

“It is of no consequence that the judge is not actually biased because § 455(a) concerns

not only fairness to individual litigants, but, equally important, it concerns the public’s

4 EXHIBIT 1
Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 5 of 10

confidence in the judiciary, which may be irreparably harmed if a case is allowed to proceed

before a judge who appears to be tainted.” In re Kensington Intern. Ltd,, 353 F. 3d 211, 220

 

(3d Cir. 2003). Despite the volumes of case law supporting disqualification, the
government’s response is based on “extrajudicial versus intrajudicial” knowledge. The fact
that the parties are arguing over where and how this Court acquired information used in
rendering decisions is, by itself, a ground for recusal, as it shows too much seeped into the
criminal case.

The government buttresses its argument with a wildly overbroad statement, cited in

Liteky v. United States, 510 U.S. 540, 114 S. Ct. 1147 (1994),“{a]ny facts or information that

 

a judge is exposed to or learns while performing judicial duties are not extrajudicial and thus
do not constitute grounds for disqualification.” Before we outline why Liteky is subject to
criticism, it is entirely distinguishable, It is not simply that the court heard other cases or
even made adverse rulings in those cases, it is that this Court has become contaminated from
the civil cases, and biased upon their facts, and can no longer be objective, as exhibited in
rulings and statements.

On November 16, 1990, Father Ray Bourgeois, Charles Liteky, and John Liteky
entered Fort Benning Military Reservation, While there, the defendants intentionally spilled
human blood on display cases, carpets and walls at Fort Bennin. The three men committed
the act to protest the killing of six Jesuit priests in El Salvador by School of the Ameticas
trainees. Judge J. Robert Elliot presided over the defendants’ trial in the district court. Before
their trial, the defendants requested that Judge Elliot recuse himself pursuant to 28 U.S.C, §

455 because he had presided over the 1983 trial of Father Bourgeois, which involved a

5 EXHIBIT |
Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 6 of 10

separate protest regarding E! Salvador. The motion was based on a few specific objections to
Judge Elliot’s conduct at the prior trial, none of which were particularly inflammatory or
personal. They noted the judge interrupting and arguing with counsel, for instance.

Once heard by the Supreme Court, Justice Scalia elucidated the doctrine stating,
"Grinnell (the only opinion of ours to recite the doctrine) clearly meant by ‘extrajudicial
source’ a source outside the judicial proceeding at hand- which would include as extrajudicial
sources earlier judicial proceedings conducted by the same judge." Overlap is going to be a
product of our court system as long as people re-offend. That was the issue in Liteky with
Father Bourgeios. That isn’t the issue with Joseph Maldonado-Passage.

Hearing evidence regarding two different and distinct crimes is very different than
presiding over three cases so intricately intertwined that it becomes impossible to
differentiate the evidentiary facts of each case, whether or not the Court desires to keep those
facts separate. Further, in Litkey, there was no punitive monologue as was exhibited here
when condemning Father Bourgeios, finding him to be out of step, selfish, troubling,
incapable of ownership of animals, etcetera.

Justice Scalia embarked on renaming the extrajudicial source doctrine, deciding that
it was more appropriate to speak of an extrajudicial source "factor." Scalia reasoned,

Since neither the presence of an extrajudicial source necessarily
establishes bias, nor the absence of an extrajudicial source necessarily
precludes bias, it would be better to speak of the existence of a

significant (and often determinative) ‘extrajudicial source’ factor .., in
recusal jurisprudence.

This impossibility standard referenced in Litkey is the practical equivalent of the per

6 EXHIBIT |
Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 7 of 10

se rule that the majority sought to reject. Under this standard, a challenge under section 455(a)
would fail “even if it were shown that an unfair hearing were likely, for it could be argued
that a fair hearing would be possible nonetheless." Id. at 1161 (Kennedy, J., concurring).
And, "The court's impossibility of fair, judgment’ test bears little resemblance to the objective
standard Congress adopted in section 455(a): whether a judge's impartiality might reasonably
be questioned." Id. Even though it is entirely factually distinguishable, the dichotomy
between the face of the statute and the Court's interpretation of the statute was without
justification. This is ripe for determination by the appellate courts if extended beyond a
“factor.”

Liteky also ignored Liljeberg, a case dealing directly with section 455(a). Although
Liljeberg did not address the extrajudicial source doctrine, it enunciated the showing
necessary for recusal under section 455(a). The Court held that "a violation of § 455(a) is
established when a reasonable person, knowing the relevant facts, would expect that a justice,
judge, or magistrate knew of circumstances creating an appearance of partiality." As noted
many times since, the Supreme Court in Liteky conveniently ignored this binding precedent
in announcing its overbroad updated standard for recusal under section 455¢a).

While the Defendant does not waive the argument that there was too much
“intrajudicial” knowledge (past and present) and tainting of the Court’s opinion of Mr,
Maldonado-Passage and witnesses in the case, it is not merely the knowledge of the same
that is disqualifying. It is the application thereof when presiding over the criminal case.

Meanwhile, the perception of bias continues well past the norm. It culminated with

not only the chief prosecutor being voted on by judges of the Western District of Oklahoma,

7 EXHIBIT 1
Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 8 of 10

but with her continuing this negative narrative of the Defendant from the bench, appearing
not only in Tiger King, but as a guest speaker at the 2021 Animal Conference hosted by the
Kirkpatrick Foundation in a speech solely about prosecuting the Defendant. We note it was
cancelled days before it was to be given because of “scheduling conflicts.”

There are 5 Canons of Ethics which predominantly govern federal judges:

Canon 1: A Judge Should Uphold the Integrity and Independence of the
Judiciary

Canon 2; A Judge Should Avoid Impropriety and the Appearance of Impropriety
in All Activities

Canon 3: A Judge Should Perform the Duties of the Office Fairly, Impartially
and Diligently

Canon 4: A Judge May Engage in Extrajudicial Activities That Are Consistent
With the Obligations of Judicial Office

Canon 3: A Judge Should Refrain From Political Activity

A judge should avoid impropriety and the appearance of impropriety in all activities.
All activities. A judge should perform the duties of the office fairly, impartially and
diligently. Leaving Judge Green’s desire to speak about the case from the bench out of this
entirely, these Canons are the guideposts. Calling Mr. Maldonado-Passage a “liar” or “fraud”
and holding him and his witnesses in “clear and convincing” contempt in concurrent civil
cases while insulting and over-sentencing him, is prejudicial. The only way to reverse the
appearance of impropriety and restore the appearance of impartiality is to withdraw.

When asked about his role as a Judge during U.S. Senate confirmations, Judge Palk
said,

“As a state and federal prosecutor for over twenty years, my clients have been

8 EXHIBIT 1
Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 9 of 10

the public at large. While protecting the rights of the public, I was also
committed to protecting the rights of the defendant, presenting evidence and
argument within the confines of the Constitution, statutes, and controlling
precedent. If confirmed, I will make every decision objectively, carefully
considering the facts presented and applying the Constitution, statutes, and
controlling precedent.”

In order for there to be faith in the judiciary, the boundaries need to be fixed and
crystal clear. There can be no room for ambiguity. In this unique circumstance, the lines
have become blurred and there is no real boundary between the civil cases and the
constitutionally significant criminal case. The issues, the parties, the evidence and the
decisions overlap and are intimately connected. A ruling in one case bieeds into the facts of
the other two cases. This has and will violate Mr. Maldonado-Passage’s rights. This is why
recusal is necessary. Having an independent judiciary, matters. It matters not just for Mr.
Maldonado-Passage, but for the Plaintiff, this Court and the public at large.

WHEREFORE, the Defendant respectfully requests this Court recuse from further

proceedings in this case and for the reassignment to another sitting District Court judge.

9 EXHIBIT |
Case 5:18-cr-00227-SLP Document 173-1 Filed 08/27/21 Page 10 of 10

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on August 27, 2021, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF and a copy hereof has beenfurnished to those
registered participants of the ECF system.

/s/ John M. Phillips
John M. Phillips

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10 EXHIBIT |
